     Case 5:14-cv-01283-VBF-DTB Document 29 Filed 09/02/15 Page 1 of 1 Page ID #:2161



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 8                    UNITED STATES DISTRICT COURT
 9                   CENTRAL DISTRICT OF CALIFORNIA
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11      DAMEIA SMITH,                   ) Case No. ED CV 14-01283-VBF (DTB)
                                        )
12                        Petitioner,   )
                     v.                 ) JUDGMENT
13                                      )
        WARDEN, FCI VICTORVILLE         )
14      I,                              )
                                        )
15                        Respondent.   )
                                        )
16
17           Pursuant to the contemporaneously issued Order Overruling Petitioner’s
18 Objections, Adopting the United States Magistrate Judge’s well-reasoned R&R, and
19 Dismissing the Habeas Corpus Petition Without Prejudice, IT IS ADJUDGED that
20 the action is dismissed without prejudice for lack of jurisdiction.
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22 DATED: September 2, 2015
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24                                               VALERIE BAKER FAIRBANK
                                                UNITED STATES DISTRICT JUDGE
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